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 2                               UNITED STATES DISTRICT COURT

 3                            EASTERN DISTRICT OF CALIFORNIA

 4

 5   UNITED STATES OF AMERICA,                     No.    2:08-cr-0197-GEB
 6                    Plaintiff,
 7          v.                                     ORDER DENYING DEFENDANT’S
                                                   REQUEST TO AMEND THE JUDGMENT
 8   JIMMIE PERRYMAN,
 9                    Defendant.
10

11               On       December    6,   2017,       Defendant    filed    a    request    for

12   amendment       of     “the     Judgment      and     Commitment       to     include    a

13   recommendation to the RDAP program.” Mem. at 1. Defendant argues:

14   “Defense    counsel         inadvertently     failed    to     make    the   request    at

15   sentencing.” Id.

16               This recommendation was not included in the Presentence

17   Report.     Further,         Defendant     indicated      during       his    sentencing

18   hearing that he has been a law abiding person for years since he

19   was arrested for the drug trafficking distribution activities

20   involved    in       this     case.   Defendant’s       counsel       also    argued    in

21   Defendant’s Sentencing Memo: “Mr. Perryman has been an upstanding

22   and model citizen since this incident occurred more than 10 years

23   ago.    He has committed no crimes, while maintaining consistent

24   employment until his retirement in 2015.”                     Sent. Mem, at 5:1-3.

25               Since the record does not indicate that Defendant could

26   benefit from the request, it is denied.

27               Dated:       December 7, 2017

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